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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FORT PIERCE DIVISION

Case No. 08-14010-CR-GRAHAM

UNITED STATES OF AMERICA,
Plaintiff,

vs.

WILLIAM DAVID BAKER,

Defendant.
/

ORDER

THIS CAUSE comes before the Court upon Defendant’s Motion in
Limine to Admit Polygraph Evidence [D.E. 37] (the “Motion”). The
matter was scheduled to commence trial on June 4, 2008, at which
time the Court ruled ore tenus on the Motion. Due to the nature of
the issues surrounding the Motion, the Court finds a written order
is appropriate.

BACKGROUND

Through a second Superceding Indictment [D.E. 24], Defendant
William David Baker was charged with two counts relating to child
pornography, in violation of 18 U.S.C. § 2252(a) (1) and (a) (4) (B).
By way of background, on February 23, 2007, a search warrant was
executed on Defendant’s home. On March 13, 2008, the Defendant was
first indicted. On March 25, 2008, the Defendant was arrested and
defense counsel filed a notice of appearance [D.E. 3]. On March

26, 2008, the Court issued its Standing Discovery Order [D.E. 7].
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The Standing Discovery Order expressly provides, among other
things, that within fourteen (14) days from the date of the Order,
the defendant shall permit the government to inspect “[a]ny results
or reports of physical or mental examinations and of scientific
tests or experiments made in connection with this case which
defendant (s) intend(s) to introduce as evidence in chief at trial,
or which were prepared by a defense witness who will testify
concerning the contents thereof.” [D.E. 7 at § B.2] On April 7,
2008, the Government filed its Response to the Standing Discovery
Order [D.E. 11] demanding, among other things “a written summary of
expert testimony that the defense reasonably expects to offer at
trial pursuant to Rules 702, 703 or 705 of the Federal Rules of
Evidence, describing the witnesses’ opinions, the bases and the
reasons for those opinions, and the witnesses qualifications.”
[D.E. 11 at § N]

On April 9, 2008, the Court issued the Criminal Trial
Scheduling Order [D.E. 12] wherein, among other things, the Court
directs that Counsel shall “submit to the Court in writing any
Motions in Limine regarding trial issues at the Calendar Call.”
[D.E. 12 at § 6] The Trial Scheduling Order further states that
“[d]iscovery ‘shall be provided on or before fourteen (14) days
from the date of the Standing Discovery Order. Untimely produced
discovery by any party is subject to exclusion.” [Id. at § 16] On

May 2, 2008, the Defendant requested an unopposed continuance
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[D.E. 21], which the Court granted at a hearing held on May 7,
2008. On May 8, 2008, the Defendant was charged with a Second
Superceding Indictment. On May 16, 2008, the case was specially
set and was then scheduled to commence trial on Monday, June 2,
2008. On Wednesday May 21, 2008, the Court held a calendar call in
this case, at which time the parties advised of certain then
unresolved issues relating to computer evidence. After discussing
the matter and the necessary scheduling, upon questioning from the
Court, the parties advised that there were no pending matters and
that the case could proceed to trial. Consequently, the case was
set to commence trial on Wednesday June 4, 2008. Unbeknownst to the
Court or the Government, on the same day, the Defendant underwent
a polygraph examination.

On Friday, May 23, 2008 - two days after the calendar call-

the Defendant filed the instant Motion seeking to admit the results
of the polygraph exam. May 23rd was also the Friday before the
extended Memorial Day holiday weekend and approximately eleven (11)
calendar days from the scheduled trial date. Simultaneously,
defense counsel filed a Notice of Unavailability [D.E. 35],
indicating that he “will be unavailable for scheduling” during the
only remaining week immediately prior to trial.

On May 27, 2008 - the Tuesday following the holiday weekend -
the Government filed its Motion to Strike Defendant’s Motion in

Limine [D.E. 38], arguing that the Motion was untimely. On June 2,
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2008, the Government further filed its opposition to the Motion
[D.E. 39] based on the Federal Rules of Evidence, including the
rules relating to scientific expert opinion. The Defendant has not
responded to the issues raised in the Government’s opposition.
DISCUSSION

The Court first reviews the Motion in light of the proceedings
in this case and, based thereon, finds that the Motion is untimely.
As noted above, Defendant's home was the subject of a search
warrant executed on February 23, 2008. On March 13, 2008, the
Defendant was first indicted. On March 25, 2008, the Defendant was
arrested and his counsel filed a notice of appearance. Immediately
thereafter, on March 26, 2008, this Court issued the Standing
Discovery Order, which provided express deadlines for the exchange
of discovery. On April 7, 2008, the Government demanded a summary
of expert testimony that the defense reasonably expected to offer
at trial and on April 9, 2008, the Court’s scheduling order advised
that motions in limine were to be submitted at the calendar call.
After a defense continuance granted on May 7, 2008, the calendar
call took place on May 21, 2008. Clearly, the Defendant failed to
comply with the Standing Discovery Order and the Trial Scheduling
Order in this cause. Defendant’s failure is even more striking
given that the case was continued at the Defendant’s request.
Having failed to comply with the orders in this case, the Defendant

is subject to the Court’s admonition that “untimely produced
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discovery by any party is subject to exclusion.” [D.E. 12 at § 16]
Moreover, the Defendant has failed to provide any reason for his
delay - much less a valid reason. Therefore, given the nature of
the request and the extended proceedings in this case, the Court
must deny the Motion as untimely.

The Court must also deny the Motion based on the relevant
precedent relating to the admissibility of polygraph evidence. In
this Circuit, United States v. Piccinonna, 885 F.2d 1529, 1536
(llth Cir. 1989), provides that polygraph evidence may be admitted
to impeach or corroborate the testimony of a witness subject to the
following three (3) preliminary conditions:

First, the party planning to use the evidence at trial

must provide adequate notice to the opposing party that

the expert testimony will be offered. Second, polygraph

expert testimony will be admissible only if the opposing

party was given reasonable opportunity to have its own
polygraph expert administer a test covering substantially

the same questions. Failure to provide adequate notice

or reasonable opportunity for the opposing party to

administer its own test is proper grounds for exclusion

of the evidence.

Finally, whether used to corroborate or impeach, the

admissibility of the [polygraph] will be governed by the

Federal Rules of Evidence for the admissibility of

corroboration or impeachment testimony.

Piccinonna, 885 F.2d at 1536 (emphasis added). In this case, the

Defendant argues that his request complies with the requirements of
Piccinonna. The record, however, speaks otherwise.
The Defendant gave notice of his intent to use polygraph

evidence only days before trial. As the Government notes, the
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Defendant could have arranged for a polygraph examination since
March 7, 2008 - the date he secured counsel. The Defendant also
had ample time to submit to a polygraph examination over the span
of approximately three months while the case was pending.?
Instead, for reasons unknown to the Court, the Defendant waited to
undergo a polygraph examination until the same day as the calendar
call in the case and only advised the Government of the exam after
the fact. Ultimately, the timing of these events is contrary to

the first condition under Piccinonna requiring “reasonable notice”

to the opposing party.

Similarly, the Defendant has failed to satisfy the second
condition under Piccinonna, i.e., providing the opposing party a
reasonable opportunity to have its own polygraph expert administer

a test covering substantially the same questions. Piccinonna, 885

F.2d at 1536. The Government contends that, on May 22, 2008, upon
learning that the Defendant had submitted to a polygraph, the
Government requested the examiner’s report to, among other things,
decide if it should conduct an independent examination. [See D.E.
38 at § 15]. Despite the Government’s specific request - even
after the late notification, the Defendant failed to provide

sufficient or complete discovery with regard to the examination.

* There is no question that the Defendant was able to obtain an

expert when he wanted one. This is evidenced by the defense
request for a continuance based, in part, on the Defendant’s desire
to have a computer forensic expert conduct an investigation.
[See D.E. 21]
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To date, there is no evidence before the Court that the Defendant
ever attempted to comply with the Government's request.

Worsening an already tardy situation, the Defendant filed the
Motion on the day before an extended holiday weekend, within days
of trial and while defense counsel advised that he was unavailable
in the days following the Motion. Under such circumstances, it is
hard to find that the Government was given the requisite
Opportunity to have its own polygraph expert, as is necessary under

Piccinonna.

Piccionna also dictates that “[f]lailure to provide adequate
notice or reasonable opportunity for the opposing party to
administer its own test is proper grounds for exclusion of the

evidence.” Piccinonna, 885 F.2d at 1536. Therefore, the Court

finds the polygraph examination must be excluded for failing to
meet the first two conditions necessary for the admissibility of
polygraph examinations in this Circuit.

Based on this ruling, the Court need not reach the last

condition under Piccinonna, i.e., whether the polygraph examination

would be admissible under the Federal Rules of Evidence.
Nevertheless, the Court recognizes the precedent in this Circuit

and considers the issue of polygraph admissibility under the

evidentiary rules uncertain, at best. See, e.g., United States v.
Henderson, 409 F.3d 1293, 1303 (11th Cir. 2005) (upholding the

trial court’s exclusion of polygraph evidence where a magistrate
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judge found that such evidence failed to satisfy the standard for

scientific evidence set forth in Daubert  v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993)); see also United States

v. Scheffer, 523 U.S. 303, 309 (1998) (“[T]here is simply no

consensus that polygraph evidence is reliable. To this day the
scientific community remains extremely polarized about the
reliability of polygraph techniques.”). That precise issue,
however, is left for another day.

The Defendant’s untimely request, in violation of the orders
in this case, combined with his failure to satisfy the first two

conditions under Piccinonna warrant a denial of the Motion. As the

Motion is denied, the Government’s motion to strike the examination
is moot.
CONCLUSION

Based on the foregoing, it is hereby

ORDERED AND ADJUDGED that Defendant’s Motion in Limine to
Admit Polygraph Evidence [D.E. 37] is DENIED. It is further

ORDERED AND ADJUDGED that the Government’s Motion to Strike
Defendant William Baker’s Motion in Limine To Admit Polygraph
Evidence [D.E. 38] is DENIED as moot.

DONE AND ORDERED in Chambers at Miami, Florida, this 4 Hh aay

of June, 2008.

DONALD L. GRAHAM
UNITED STATES DISTRICT JUDGE
cc: Counsel of Record
